Case 9:10-cr-80149-KAM Document  690 Entered
                         UN ITED STATES      on
                                             CTFLSD
                                        DISTRI       Docket 01/20/2012 Page 1 of 1
                                                CO URT
                         SOUTHERN DISTRICT OF FLORIDA
 UNITEDSTATESOFAMERICA                     ,
                                                            CASENO: lO -TO I4Q -/A
                          Plaintiff



 (t r'
     sqi                  'ipo- pamr-z,
                                                   SENTENCING M IN UTES

 DATE:        l                                '
                                                        courtReporter: SteohenFranklin              *

 AusA                         y
                                      X                 oefensecounsel:          (tf-un       ttk$
                                                        Deputy Clerk: Irene Ferrante
                                               zuogv sxv xxo ssxvsxc s
  lm prisonm ent      è0                              Moxvusastocouxrs X V0

  Probahon                            YEA RS asto COUNTS



  SupervisedReleaseC C-e YEARSastoCounts
                                               EmploymentRequirement .- Permissible Search              Deportation
        Association restriction        -


        M entalHealth Treatment                    Substance abusetreatm ent     Financialdisclosure       N o debt

        No self-em ployment
                                       Related concern restriction         Sex offenderconditions
                                  -




  Assessment$ l       .
                       ooFine                               Restitution:
        Countsrem aining dism issed on Govem mentm otion                                      -

        Defendantadvised ofe
                           hisrightto appeal.
        Remanded to U .S!M arshal
   $7 voluntarySurrenderonorbefore b oo:.ffA ofa s'h-z7-l'2-
    .
                                                        '




  RecommendationtotheBureauofPrisons g                            :-           o.
                                                                                pi4:
                                                                                   î7tœ cafu


  Time in court:
                    tr                                            bl-ét'tr di3v-W fYIh vàbreeowèol'
                                                                                           t'rplml M rIq'
                          -




                                                                                                           ffn/oYxr'f
